9 F.3d 1543
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clarence Melvin BATTLE, Petitioner-Appellant,v.Talmadge L. BARNETT;  Lacy H. Thornburgh, Attorney Generalof the State of North Carolina, Respondents-Appellees.
    No. 93-6789.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 16, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.
      Clarence Melvin Battle, Appellant Pro Se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant seeks to appeal the district court's order denying his motion for reconsideration of the denial of 28 U.S.C. § 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Battle v. Barnett, No. CA-91-208-BR (E.D.N.C. July 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    